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1    [Stipulating parties listed on signature page]

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9                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)                     )   Master File No. 3:07-cv-5944 SC
     ANTITRUST LITIGATION                              )
13                                                     )   MDL No. 1917
                                                       )
14   This Document Relates to:                         )   STIPULATION AND [PROPOSED]
                                                       )   ORDER REGARDING SERVICE OF
15   ALL INDIRECT PURCHASER ACTIONS                    )   EXPERT SUR-REBUTTAL REPORTS
                                                       )
16                                                     )
17          WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling dated March 21,
18   2014 (Doc. No. 2459) (“Scheduling Order”) and Stipulation and Order Regarding Service of
19   Expert Rebuttal Report (Doc. No. 2818) dated September 9, 2014, on September 26, 2014,
20   Plaintiffs served the expert report of Dr. Janet Netz, who addressed issues related to the Indirect
21   Purchaser Plaintiffs’ (“IPPs”) claims and the Defendants’ experts’ reports;
22          WHEREAS, pursuant to the Scheduling Order, Defendants’ experts’ sur-rebuttal reports
23   are currently required to be served no later than October 31, 2014;
24          WHEREAS, due to scheduling conflicts of Dr. Janet Netz and Defendants, Defendants are
25   unable to take the deposition of Dr. Janet Netz prior to October 31, 2014;
26          WHEREAS, in order to accommodate the parties’ schedules and that of their experts, the
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28                    STIPULATION AND [PROPOSED] ORDER REGARDING SERVICE OF
                                   EXPERT SUR-REBUTTAL REPORTS
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1    parties hereto have reached an agreement as set forth herein;

2           IT IS HEREBY STIPULATED AND AGREED by counsel for the undersigned parties as

3    follows:

4           1.      IPPs will produce Dr. Janet Netz for deposition on October 31, 2014 at Zelle

5    Hofmann Voelbel & Mason LLP’s San Francisco office;

6           2.      The last day for Defendants’ experts to serve their sur-rebuttal expert reports on the

7    merits is extended to November 6, 2014;

8           3.      The last day for Defendants’ experts to serve their backup productions of materials

9    relied upon in their sur-rebuttal expert reports on the merits is extended to November 11, 2014;

10          4.      All other dates in the Scheduling Order are unaffected by this stipulation

11                                                  ***

12          The undersigned Parties jointly and respectfully request that the Court enter this

                                                                                ISTRIC
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13   stipulation as an order.
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14   PURSUANT TO STIPULATION, IT IS SO ORDERED.                          TA




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16   Dated: _October 22, 2014                                                APPRO




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                                                            Hon. Samuel Conti
17                                                          United States District Judge
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27
                                                   5
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            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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